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 3
 4                      IN THE UNITED STATES DISTRICT COURT
 5                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,              )
                                            )      2:12-cr-00027-GEB-2
 8                    Plaintiff,            )
                                            )
 9               v.                         )      RULING RE PARTIES’ OBJECTIONS
                                            )      TO PRESENTENCE REPORT
10   MAMTA SHARMA,                          )
                                            )
11                 Defendant.               )
     ________________________________       )
12
13               Each party objects to certain portions of the Presentence

14   Report (“PSR”). The Government filed an untimely objection to the second

15   sentence of paragraph 9 of the PSR, arguing it is without factual

16   support. The referenced sentence states:

17               Later, to facilitate sham marriages so the Indian
                 nationals could obtain permanent resident status in
18               the United States, Sharma, and Rani Rachana
                 Singh-Lal would agree to prepare petitions and
19               applications falsely representing that various
                 recruits had married or would marry Indian
20               nationals.

21               The government states it “is unaware of evidence directly

22   implicating Sharma or Singh-Lal in the actual preparation of petitions

23   submitted to immigration authorities” and that “the phrase Sharma, and

24   Rani Rachana Singh-Lal” in this sentence should be changed to “members

25   of the conspiracy.” (Gov’t Sentencing Memo. (“Gov’t Memo.”) 2:7-10

26   (internal    quotation   marks   omitted).)    Defendant    agreed    with   the

27   government on this issue at the August 31, 2012 sentencing hearing, and

28   each party agreed that no ruling concerning this objection is necessary


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 1   since I stated at the hearing that I would only consider the referenced
 2   sentence as the Government stated it should read.
 3             Defendant Mamta Sharma (“Sharma”) objects to Probation’s
 4   finding in the PSR that recommends she receive a three-level sentence
 5   enhancement under Sentencing Guideline § 3B1.1(b) for her aggravating
 6   role as a “manager or supervisor” in the offense. (Def.’s Formal Objs.
 7   to Probation Rep. (“Def.’s Objs.”) 2:3-5.) The basis for Probation’s
 8   three-level sentence enhancement recommendation under § 3B1.1(b) is as
 9   follows: “defendant acted as a manager/supervisor and the criminal
10   activity involved five or more participants. Sharma instructed and
11   managed petitioners/recruits into entering into sham engagement.”     (PSR
12   ¶ 29.) Sharma argues this characterization is based on “unfounded
13   assumptions” and is “directly contradicted by the evidence.” (Def.’s
14   Objs. 3:1-2.) Sharma further argues “there is no evidence that she
15   exercised any degree of control over another participant or that she
16   recruited anyone.” Id. at 3:24-26. Sharma filed the affidavit of Sippy
17   Lal, her husband and co-defendant, in support of her objection. (Sippy
18   Lal Aff., Ex. A. to Def.’s Objs.) Lal avers facts in the affidavit which
19   contradict certain factual statements contained in the PSR concerning
20   Sharma’s involvement with other participants.
21             The Government counters that the enhancement applies, arguing
22   “ample evidence [exists] in the record to support the finding that
23   Sharma filled a managerial role.” (Gov’t Memo. 4:2-3.) The Government
24   supports its argument relying on statements of multiple petitioners,
25   which are recounted in the PSR, and the factual basis to Sharma’s guilty
26   plea (ECF No. 53, 11-12). Id. at 4:4-22. Sharma agreed that the factual
27   basis was accurate when she entered her guilty plea, and she reaffirmed
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 1   her    agreement    with     the    factual       basis       during      her   interview      with
 2   Probation. (PSR ¶ 24.)
 3                  U.S.S.G. § 3B1.1(b) provides, in relevant part: “If the
 4   defendant was a manager or supervisor . . . and the criminal activity
 5   involved five or more participants . . . increase by 3 levels.” “To
 6   sustain    a    finding     that    a    defendant played an aggravated role under
 7   § 3B1.1, there must be evidence that the defendant exercised some
 8   control over others involved in commission of the offense or was
 9   responsible for organizing others for the purpose of carrying out the
10   crime.”    United     States       v.    Riley,     335       F.3d     919,     929   (9th     Cir.
11   2003)(citations, internal quotation marks and brackets omitted). “A
12   court   may     impose    this     enhancement      if    there      is    evidence     that    the
13   defendant exercised some control over others involved in the commission
14   of the offense or was responsible for organizing others for the purpose
15   of carrying out the crime.”             United States v. Whitney, 673 F.3d 965, 975
16   (9th    Cir.    2012)(citations,         internal    quotation            marks   and   brackets
17   omitted). “The government must present evidence sufficient to support
18   the upward adjustment by a preponderance of the evidence.” United States
19   v. Maldonado, 215 F.3d 1046, 1051 (9th Cir. 2000).
20                  Sufficient    evidence      exists        in    the   sentencing       record     to
21   support, by a preponderance of the evidence, that Sharma occupied a
22   managerial or supervisory role in the criminal activity. The relevant
23   portion of Sharma’s factual basis for her guilty plea states:
24                  Lal and Sharma sometimes traveled with and escorted
                    the recruits to and from India. While there, Sharma
25                  dressed certain recruits in traditional Indian
                    style, and provided guidance regarding appropriate
26                  behavior   at   Indian   engagement   and   wedding
                    ceremonies . . . . On at least one occasion, Lal
27                  and Sharma escorted a recruit and an Indian
                    national to officials in the United States for the
28                  purpose of performing a sham marriage[.]


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 1   (ECF No. 53, at 11-12.) Further, the following portions of the PSR are
 2   uncontroverted, even though Sharma indicated she preserved an objection
 3   to the finding, since she failed to make specific informal and formal
 4   objections required by the objection procedure:
 5             9.    . . . Sharma . . . and other conspirators
                     traveled with and escorted some of the
 6                   recruits to and from India. Lal and Sharma
                     would coach the recruits, telling them to take
 7                   photographs with the Indian nationals in
                     different clothing to give the impression that
 8                   the marriages were legitimate. Sharma would
                     coach them on the traditional Indian style of
 9                   clothing, engagement, and wedding ceremonies.
10             . . . .
11             18.   In November 2008, a woman named Sarah agreed
                     to participate in the scheme for monetary
12                   payment. . . . Sharma prepared Sarah for the
                     engagement ceremony. . . .
13
               19.   In 2006, Appria traveled with Lal and Sharma
14                   and participated in a sham engagement. . . .
15   (PSR ¶¶ 9, 18, 19.) Local Rule 460(f) requires that Formal Objections
16   be in the form of “a concise memorandum of all objections and facts in
17   dispute[,]” which “specifically identify each item in the report which
18   is challenged as inaccurate or untrue[.]” E.D. Cal. R. 460(f).
19             The referenced uncontroverted facts and the inferences that
20   can reasonably drawn therefrom evince that the three-level enhancement
21   under § 3B1.1(b) applies. See United States v. Koenig, 952 F.2d 267, 274
22   (9th Cir. 1991)(affirming application of § 3B1.1(b) enhancement, stating
23   “[defendant’s] notes also arguably indicate that he played some role in
24   educating and directing the group”); United States v. Rivera, 527 F.3d
25   891, 909 (9th Cir. 2008)(indicating evidence that defendant “directed”
26   other participants was sufficient to support application § 3B1.1(b)
27   enhancement). Further, an evidentiary hearing is unnecessary since the
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 1   portions of the PSR which are controverted in Lal’s affidavit were not
 2   considered in determining whether § 3B1.1(b) applies.
 3                For the stated reasons, Sharma’s objection to a three-level
 4   sentence enhancement under Sentencing Guideline § 3B1.1(b) is overruled.
 5   Dated:    August 31, 2012
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 7
                                         GARLAND E. BURRELL, JR.
 8                                       Senior United States District Judge

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